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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLORADO
                              Judge Raymond P. Moore


Criminal Case No. 15-cr-00149-RM

UNITED STATES OF AMERICA,

       Plaintiff,

v.

2. PAMILA LUCERO,

       Defendant.

_____________________________________________________________________

               ORDER SETTING CHANGE OF PLEA HEARING
_____________________________________________________________________

       Pursuant to the Notice of Disposition filed on (Docket No. 332). A Change of Plea

Hearing is set for February 29, 2016, at 1:00 p.m. Counsel for the parties shall email a courtesy

copy of all change of plea documents separately to my chambers:

(Moore_Chambers@cod.uscourts.gov) and to the Probation Department not later than 48 hours

before the change of plea hearing. See D.C.COLO.LCrR 11.1C. On the date of the hearing,

counsel shall bring with them an original and one copy of the plea agreement and the statement

in advance. See D.C.COLO.LCrR 11.1F.

       The plea agreement shall be in the form required by D.C.COLO.LCrR 11.1C which

includes a separate section identifying each essential element required by law for the commission
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of each criminal offense to which the defendant intends to enter a plea of guilty. The statement

in advance shall be in the form required by D.C.COLO.LCrR 11.1D.

       DATED this 17th day of February, 2016.

                                             BY THE COURT:



                                             ________________________________________
                                             RAYMOND P. MOORE
                                             United States District Judge




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